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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

                      CASE NO. 25-21826-CIV-GAYLES/GOODMAN

  ALESSANDRA PIRAS TORRENS,

         Plaintiff,
  v.

  FLORIDA INTERNATIONAL
  UNIVERSITY BOARD OF TRUSTEES,

        Defendant.
  ____________________________________/

       MAGISTRATE JUDGE GOODMAN’S DISCOVERY PROCEDURES ORDER

         The following discovery procedures apply to all civil cases in which discovery is

  referred to United States Magistrate Judge Jonathan Goodman and where Judge

  Goodman is presiding over a case with full consent.

  OVERALL STATEMENT

         The Court designed these procedures to help the parties and the Court work

  together to timely resolve discovery disputes without undue delay and unnecessary

  expense. The procedures are designed to: (1) promote the timely internal resolution of

  discovery disputes by the parties themselves so that they have no need to seek judicial

  intervention; (2) help the parties obtain timely rulings to the extent they cannot on their

  own resolve their discovery disputes; (3) streamline the process of resolving discovery

  disputes by eliminating unnecessary motion practice; and (4) assist the Court by
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  prohibiting the submission of motions and memoranda which are unnecessary, overly

  long, or both.




  MEET AND CONFER

         Counsel must actually confer (in person or via telephone) and engage in

  reasonable compromise in a genuine effort to resolve their discovery disputes before

  filing a notice of a discovery hearing. In other words, there must be an actual

  conversation before a discovery hearing notice is filed. If counsel refuses to participate in

  a conversation, then the party seeking to set a discovery hearing shall so state in the

  required certificate of conference and outline the efforts made to have a conversation.

         The Court may impose sanctions, monetary or otherwise, if it determines

  discovery is being improperly sought, is being withheld in bad faith, or if a party fails to

  confer in good faith. Sending an email or telefax to opposing counsel with a demand that

  a discovery response or position be provided on the same day will rarely, if ever, be

  deemed a good faith effort to confer before filing a discovery hearing notice.




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  DISCOVERY CALENDAR AND NO DISCOVERY MOTIONS

         No written discovery motions, including motions to compel, for protective order,

  or related motions for sanctions shall be filed unless specifically authorized by the Court.1

  Similarly, the parties may not submit legal memoranda concerning a discovery hearing

  unless the Undersigned specifically authorizes it. This procedure is intended to minimize

  the need for discovery motions. The Court will strike any unauthorized discovery

  motions and memoranda.

         If, after conferring, the parties are unable to resolve their discovery disputes

  without Court intervention, then the Court holds a regular discovery calendar every

  Friday afternoon. The party seeking the discovery hearing shall contact Chambers at (305)

  523-5720 to place the matter on the next available discovery calendar. Each discovery

  hearing is limited to one hour (inclusive of the parties’ arguments and the Undersigned’s

  ruling). However, if the parties believe that the discovery-related issues would need more




  1       Nevertheless, if the parties wish to submit an agreed-upon discovery order, such
  as a standard confidentiality-type of protective order, then they shall: (1) file a Motion for
  Entry of Stipulated Order, with the proposed order attached to the Motion, and (2) submit
  a “Word”-version courtesy copy of the proposed Order to the Undersigned’s CM/ECF
  mailbox (goodman@flsd.uscourts.gov). This Order does not prohibit that submission
  because there is not a discovery dispute; instead, there is an agreement about a discovery
  issue. Thus, the motion is not one to resolve a discovery dispute; it merely facilitates an
  agreement.
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  than one hour of the Court's time, then they must file a motion on CM/ECF requesting

  more time and include good cause as to why the hearing should be longer than an hour.

         When counsel (or a pro se party) seeking the discovery hearing contacts Chambers,

  he or she must disclose whether the attorneys who will be arguing at the hearing are local

  (i.e., located in Miami-Dade or Broward County) or not local (i.e., located in other parts

  of Florida, like Palm Beach County, or out-of-state). The Court permits discovery

  hearings to be held via Zoom where at least one attorney arguing the hearing is not local.

  In cases where the attorneys arguing the hearing are all local, the Court typically requires

  in-person attendance at the hearing, but an exception may occur after the successful filing

  of a motion requesting an atypical arrangement.

         The Court does not permit hybrid hearings. Thus, if a hearing is set as a Zoom

  hearing, then all counsel must participate on Zoom. If a hearing is set as an in-person

  hearing, then all counsel must attend in person.

         Chambers will provide available dates for the party to confer with opposing

  counsel and confirm his or her availability for the discovery calendar. Once opposing

  counsel has confirmed availability, the party seeking the hearing will contact Chambers

  again to finalize the hearing date. [NOTE: The longer a party waits to contact Chambers

  to follow through after being provided with available times, the more likely it is that the




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  hearing date will no longer be available. Therefore, the Court encourages parties seeking

  discovery hearings to follow through on a timely basis and confirm the hearing date.].

         On the same day that Chambers confirms that the matter is being placed on the

  discovery calendar, the party seeking the discovery hearing shall provide notice to all

  relevant parties by filing a Notice of Hearing and serving a copy on opposing counsel

  through the Court’s electronic docketing system. The Notice of Hearing shall briefly and

  succinctly identify the substance of the discovery matter to be heard. (For example, “The

  parties dispute the appropriate time frame for Plaintiff’s Interrogatory Nos. 1, 4–7, and

  10” or “The parties disagree about whether Defendant produced an adequate Rule

  30(b)(6) witness on the topics listed in the notice.”) The party scheduling the hearing

  shall include in this Notice of Hearing a certificate of good faith that complies with

  Southern District of Florida Local Rule 7.1(a)(3). The Court will strike hearing notices

  which do not include a sufficient local rule certificate.

         The party who scheduled the discovery hearing shall provide the Court a copy of

  all source materials relevant to the discovery dispute, via hand-delivery or through a

  document that is emailed to the CM/ECF mailbox (goodman@flsd.uscourts.gov) on the

  date that the Notice of Hearing is filed. (For example, if the dispute concerns

  interrogatories, then the interrogatories at issue (and the answers and/or objections) shall

  be provided.) Source material is the actual discovery at issue. Source material is not


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  memoranda or letters to the Court which are, for all intents and purposes, a mini-brief.

  The opposing party may submit additional source material to the CM/ECF mailbox, as

  well.

          The failure to timely file the Notice of Hearing on CM/ECF and to submit the

  source materials by email, may result in an Order cancelling the discovery hearing for

  failure to comply with this Order.

          Neither the Notice of Hearing nor the source materials should be used as a de facto

  strategy to submit a memorandum. For example, sending multi-page, rhetoric-filled

  letters to the Court or filing argument-riddled notices are specifically prohibited. The

  Court will strike letters, notices, and exhibits which are designed to circumvent the no

  motion/no memoranda policy.

          If one or more of the parties believe in good faith that the discovery dispute is not

  a routine, garden-variety dispute and needs specialized attention, then the parties may

  include a to-the-point, no-more-than-one-paragraph explanation in the Notice of

  Hearing, to flag the specific issues. In addition, the parties may file on CM/ECF a “notice

  of authorities,” which will list only the authorities, but which will not contain argument

  or be a disguised memorandum. At most, the list of authorities may contain a one-

  sentence, objective summary of the relevant holding of each case or authority. The Court

  will strike any non-compliant notice of authorities.


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         The notice of authorities may not have more than ten authorities listed. If any of

  the authorities listed are unpublished and cannot be found on Westlaw or Lexis, then that

  party must provide a consolidated PDF of those authorities (with the relevant language

  highlighted) to Chambers. The consolidated PDF must be emailed to the CM/ECF

  mailbox (goodman@flsd.uscourts.gov) on the date that the notice of authorities is filed

  on CM/ECF.

         For those discovery disputes which are particularly complex (and there are not

  many of those) and which a party believes will require briefing, a motion for leave to file

  a discovery motion or memoranda may be filed. The motion should briefly explain the

  extraordinary need, but the actual discovery motion or memorandum should not be

  attached or filed unless the Court grants the motion seeking leave. The Court anticipates

  that the need for motions and/or memoranda will arise only rarely.

         The following topics are illustrations of discovery disputes which are usually not

  rare enough to bypass the standard no-motion policy and therefore would not ordinarily

  justify a motion for leave to file a discovery motion in a specific case absent extraordinary

  circumstances: (1) whether a party may take more than ten depositions in the absence of

  consent; (2) whether a deposition may last more than seven hours; (3) how a seven-hour

  deposition is allocated among the parties; (4) whether a Rule 30(b)(6) witness was

  prepared to provide binding testimony on all the topics listed in the notice; (5) whether a


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  noticed deposition is an "apex" deposition, and, if so, whether it will be permitted; (6)

  whether a party needs to arrange for a treating doctor to provide an expert witness report

  or if the party needs to make other written disclosures if the physician is expected to

  testify about the cause of an injury; (7) squabbles over the location of a deposition; (8)

  whether an attorney improperly instructed a deponent to not answer certain questions;

  (9) whether an attorney was improperly coaching a deponent; (10) whether a party or

  attorney may pay any money to a deponent or trial witness other than a standard witness

  fee, and, if so, under what circumstances and in what amounts; (11) whether a party may

  take "early" discovery; (12) whether a party exceeded the number of permissible

  interrogatories (and how should the sub-parts be counted); (13) whether an interrogatory

  answer is adequate or whether better answers are required; and (14) whether a party

  engaged in a strategically unfair "document dump" which makes it difficult for a party to

  know which documents are responsive to a request. These are all routine discovery

  disputes which require the submission of only the Notice of Hearing, source material(s),

  and, at most, an argument-free list of authorities.

         The Court expects all parties to engage in reasonable compromise to facilitate the

  resolution of their discovery disputes. The Court may impose sanctions, monetary or

  otherwise, if the Court determines discovery is being improperly sought or is being

  withheld in bad faith.


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         These procedures do not relieve parties from the requirements of any Federal

  Rules of Civil Procedure or Local Rules, except as noted above.




  REQUESTS FOR RELIEF

         Any and all requests for relief (including changing the format of a hearing) shall

  abide by the Local Rules. Local Rule 7.7 (entitled “correspondence to the Court”)

  prohibits an attorney from presenting to the Court a “letter or the like” which “request[s]

  relief in any form.” The rule has an exception: a letter or similar communication (such as

  an email note) may be submitted if the presiding judge “invite[s] or direct[s]” the attorney

  to do so. Therefore, the parties are not allowed to directly email Chambers requesting any

  sort of relief unless permitted to do so by the Undersigned.

         As previously stated, no discovery motions are allowed. If there is a discovery

  dispute, then the parties must contact Chambers to request hearing dates and follow the

  procedure set forth above. Once the hearing is scheduled, the parties may file motions to

  amend the hearing itself or the subject matter discussed.

         A request to change the hearing format must be made in the form of a motion.

  Local Rule 7.1 requires the movant to confer with opposing counsel and to include a

  certificate of conferral, indicating that the conferral has occurred (or that it has not




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   happened, and to explain why). Any request for relief that does not meet this criteria will

   be stricken. And any continued failure to adhere to this rule may result in sanctions.




   PROPOSED ORDERS

         If a party submits a proposed order to the Undersigned, then it must be in

   Microsoft Word format in 12-point Palatino Linotype font. The proposed order must be

   double spaced, justified, and the case style must mirror the case style used in this Order.

   If the proposed order is more than one page, then it must include page numbers,

   beginning on the second page.




   PRO SE LITIGANTS

         Section 2C of the Southern District of Florida CM/ECF Administrative Procedures

   requires pro se litigants to file their documents in a conventional manner, which means in

   person or by U.S. mail. There are no exceptions. Pro se litigants interested in receiving

   notices must file the form “Consent by Pro Se Litigants (Non-Prisoner) to Receive Notice

   of   Electronic   Filing”   which     can    be   found     on   the    Court’s    website

   (http://www.flsd.uscourts.gov/forms/consent-pro-se-litigant-non-prisoner-receive-nefs).

   After filing the consent, pro se litigants will receive case orders, notices and other

   documents filed via email. Paper copies of filings will then no longer be sent by the Court


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   or opposing counsel in that particular case. If a pro se litigant files the consent form

   mentioned above, then he or she is responsible for maintaining a current email address

   with the Court. The pro se litigant shall not email Chambers requesting any form of relief,

   including emailing a copy of their filings in violation of both Local Rule 7.7 and Section

   2C of the CM/ECF Administrative Procedures mentioned above. If a pro se litigant has a

   discovery dispute, then he or she may call Chambers to schedule a discovery hearing per

   this Order. Any other requests for relief must abide by the mentioned procedures and

   Local Rules.




   PRE-HEARING DISCUSSIONS/CANCELLING HEARINGS

          The mere fact that the Court has scheduled a discovery hearing/conference does

   not mean that the parties should no longer try to resolve the dispute. To the contrary,

   the parties are encouraged to continually pursue settlement of disputed discovery

   matters. If those efforts are successful, then counsel should contact Chambers as soon as

   practicable to inform the Undersigned that the hearing will be timely cancelled. After

   contacting Chambers, the party who scheduled the hearing must file a notice on CM/ECF

   indicating that all issues were resolved and that the hearing is cancelled. Alternatively, if

   the parties resolve some, but not all, of their issues before the hearing, then counsel shall

   also timely contact Chambers and then also provide a pre-hearing written notice on


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   CM/ECF (with as much lead time as possible) about those issues which are no longer in

   dispute (so that the Court and its staff do not unnecessarily work on matters no longer in

   dispute).




   RULE 30(b)(6) DEPOSITIONS

          The party seeking to take the deposition shall include only a reasonable number

   of topics to be covered in a 7-hour deposition. Listing 40 or 50 (or more topics) is

   presumptively unreasonable. If the corporation or entity has any objections to the topics

   listed in the Rule 30(b)(6) notice, then its counsel shall first confer and try to resolve the

   dispute. But, if a complete resolution is not reached, then the party seeking to take the

   deposition shall notice the dispute for a hearing before the Undersigned (following the

   same procedures outlined above) and obtain a ruling on the disputed topics before the

   Rule 30(b)(6) deposition occurs.

          Counsel for the corporation or entity is not required to identify the designee or

   designees before the deposition begins, but he or she is certainly free to volunteer the

   information as a courtesy.

          It is permissible for a party to take the deposition of a person in his/her

   representative capacity as a corporate designee and also take a separate deposition of that

   person in his/her role as a fact witness. The attorney scheduling the depositions has the


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   discretion to determine the order in which the two depositions occur. The attorney taking

   the depositions may take the fact witness deposition and the Rule 30(b)(6) deposition at

   the same time but shall clearly announce on the record when the deposition is changing

   into a different type of deposition.




   EXPENSES, INCLUDING ATTORNEY’S FEES

          The Court reminds the parties and counsel that Federal Rule of Civil Procedure

   37(a)(5) requires the Court to award expenses, including fees, unless an exception (such

   as the existence of a substantially justified, albeit losing, discovery position) applies to the

   discovery dispute and ruling.




   NO BOILERPLATE DISCOVERY OBJECTIONS

                       “Vague, Overly Broad and Unduly Burdensome”

          The parties shall not make conclusory boilerplate objections. Such objections do

   not comply with Local Rule 26.1(e)(2)(A), which provides that, “[w]here an objection is

   made to any interrogatory or sub-part thereof or to any production request under Federal

   Rule of Civil Procedure 34, the objection shall state with specificity all grounds.” Blanket,

   unsupported objections that a discovery request is “vague, overly broad, or unduly

   burdensome” are, by themselves, meaningless, and the Court will disregard such


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   objections. A party objecting on these bases must explain the specific and particular ways

   in which a request is vague, overly broad, or unduly burdensome. See Fed. R. Civ. P.

   33(b)(4) (the ground for objecting to an interrogatory “must be stated with specificity”);

   Josephs v. Harris Corp., 677 F.2d 985, 992 (3d Cir. 1982) (“[T]he mere statement by a party

   that the interrogatory was ‘overly broad, burdensome, oppressive and irrelevant’ is not

   adequate to voice a successful objection to an interrogatory.”). Testimony or evidence

   may be necessary to show that a particular request is in fact burdensome.




         “Irrelevant or Not Reasonably Calculated to Lead to Admissible Evidence”

          An objection that a discovery request is irrelevant or “not reasonably calculated to

   lead to admissible evidence” is an outdated type of objection, as that language no longer

   defines the scope of discovery under Federal Rule of Civil Procedure 26(b)(1). The current

   version defines the scope of discovery as being “nonprivileged matter that is relevant to

   any party’s claim or defense and proportional to the needs of the case” -- and then lists

   several factors to analyze. The Court reminds the parties that the Federal Rules provide

   that information within this scope of discovery “need not be admissible in evidence” to

   be discoverable. See Fed. R. Civ. P. 26(b)(1); S.D. Fla. L.R. 26.1(g)(3)(A); Oppenheimer Fund,

   Inc. v. Sanders, 437 U.S. 340, 351-52 (1978).




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                                    No Formulaic Objections

          The parties should avoid reciting a formulaic objection followed by an answer to

   the request. It has become common practice for a party to object on the basis of any of the

   above reasons, and then state that “notwithstanding the above,” the party will respond

   to the discovery request, subject to or without waiving such objection. Such a boilerplate

   objection and answer preserves nothing, and constitutes only a waste of effort and the

   resources of both the parties and the Court. Further, such practice leaves the requesting

   party uncertain as to whether the responding party fully answered. Moreover, the

   Federal Rules of Civil Procedure now specifically prohibit that practice (which was

   deemed inappropriate by many judges and commentators). For example, Federal Rule of

   Civil Procedure 34(b)(2)(C) now provides that an objection to a request for documents

   “must state whether any responsive materials are being withheld on the basis of that

   objection.” In addition, it also says that “an objection to part of a request must specify the

   part and permit inspection of the rest.” Therefore, counsel should specifically state

   whether the responding party is fully answering or responding to a request and, if not,

   specifically identify the categories of information that have been withheld on an

   objection-by-objection basis.




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                               Objections Based upon Privilege


          Generalized objections asserting attorney-client privilege or the work product

   doctrine also do not comply with the Local Rules. S.D. Fla. L.R. 26.1(e)(2)(B) requires that

   objections based upon privilege identify the specific nature of the privilege being

   asserted, as well as identify details such as the nature and subject matter of the

   communication at issue, the sender and receiver of the communication and their

   relationship to each other. The parties must review this Local Rule carefully, and refrain

   from objections in the form of: “Objection. This information is protected by

   attorney/client and/or work product privilege.” The Local Rule also requires the

   preparation of a privilege log except for “communications between a party and its

   counsel after commencement of the action and work product material created after

   commencement of the action.”

          DONE AND ORDERED in Chambers, in Miami, Florida, on June 11, 2025.




   Copies furnished to:
   All Counsel of Record

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